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------ L-J;)C»_j;",\ ___ :i`, ' Honorable John C. Coughenour

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT sEATrLE
UNITED sTATES oF AMERlCA, No. CR15»2021cC
Pl"“““ff’ PLEA AGREEMENT
V.
oUsrAvo oARClA-vALENCIA,
Defendant.

 

 

The United States of Arneriea, by and through Annette L. Hayes, United States
Attorney for the Western Distriet of Washington, and Steven l\/[asada and Grady Leupold,
Assistant United States Attorneys for Said District, GUSTAVO GARCIA-VALENCIA,
and his attorney, Bryan Hershrnan, enter into the following Agreement, pursuant to
Federal Rule of Criminal Procedure ll(C):

1. Charges. Defendant, having been advised of the right to have this matter
tried before a jury, agrees to Waive that right and enters a plea of guilty to the following

charges contained in the Fourth Superseding lndictment.

Plea Agreement/ U.S. v. Garci`a- Valencfa - l UNlTED STATES ATTORNEY
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a. Conspiracy to Distribute Controlled Substances, a lesser included
offense as charged in Count l, in violation of Title Zl, United States Code, Sections
84l(a), 841(b)(l)(C), and 846; and

b. Possession of a Firearm by a Prohibited Person, as charged in
Count ll, in violation of Title lS, United States Code, Section 922(g)(l).

By entering pleas of guilty, Defendant hereby waives all objections to the form of
the charging document. Defendant further understands that before entering his guilty
pleas he will be placed under oath. Any statement given by Defendant under oath may be
used by the United States in a prosecution for perjury or false statement

2. Elements of Offense. The elements of the offenses to which Defendant is
pleading guilty are as follows:

a. The elements of Conspiracy to Distribute Controlled Substances, in
violation of Title 21, United States Code, Sections 84l(a) and 846, are as follows:

First, beginning at a time unknown, but within the last five (5) years,
and continuing to on or about J' unc 30, 2015, there was an agreement between two or
more persons to distribute controlled substances; and

Second, Defendant became a member of the conspiracy knowing its
object and intending to help accomplish it.

b. The elements of Possession of a Firearm by a Prohibited Person, in
violation of Title 18, United States Code, Section 922(g)(l), are as follows:

First, the defendant knowingly possessed a particular firearm',

Second, that particular firearm had been shipped or transported from
one state to another, or between a foreign nation and the United States; and

Third, at the time the defendant possessed that firearm, the defendant
had been convicted of a crime punishable by imprisonment for a term exceeding one
year.

3. The Penalties. Defendant understands that the statutory penalties

applicable to the offenses to which he is pleading guilty are as follows:

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a. For the offense of Conspiracy to Distribute Controlled Substances:
A maximum term of imprisonment of up to twenty (20) years, a fine of up to one million
dollars ($1,000,000), a period of supervision following release from prison of at least
three (3) years, and a mandatory special assessment of one hundred dollars ($l()()).

b. For the offense of Possession of a Firearm by a Prohibited Person:
A maximum term of imprisonment of up to ten (10) years, a fine of up to two hundred
and fifty thousand dollars ($250,000), a period of supervision following release from
prison of up to three (3) years, and a mandatory special assessment of one hundred
dollars ($100).

lf a probationary sentence is imposed, the probation period can be for up to five
(5) years.

Defendant agrees that the special assessment shall be paid at or before the time of
sentencing

Defendant understands that supervised release is a period of time following
imprisonment during which he will be subject to certain restrictive conditions and
requirements Defendant further understands that if supervised release is imposed and he
violates one or more of the conditions or requirements, Defendant could be returned to
prison for all or part of the term of supervised release that was originally imposed. This
could result in Defendant's serving a total term of imprisonment greater than the statutory
maximum stated above.

Defendant understands that as a part of any sentence, in addition to any term of
imprisonment and/ or fine that is imposed, the Court may order Defendant to pay
restitution to any victim of the offense, as required by law.

Defendant further understands that a consequence of pleading guilty may include
the forfeiture of certain property either as a part of the sentence imposed by the Court, or
as a result of civil judicial or administrative process

Defendant agrees that any monetary penalty the Court imposes, including the

special assessment, fine, costs, or restitution, is due and payable immediately and further

P]ea Agreeinent/ U.S. v. Garcia- Vaz'encfa - 3 UNITED STATES ATTORNEY
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agrees to submit a completed Financial Statement of Debtor form as requested by the
United States Attorney’s Office.

4. Drug Offenses - Program Eligibility. Defendant understands that by
pleading guilty to a felony drug offense, Defendant will become ineligible for certain
food stamp and Social Security benefits as directed by Title Zl, United States Code,
Section 862a.

5. Enhanced Penalty. Pursuant to this Plea Agreement, and conditioned
upon Defendant's fulfillment of all of its terms and conditions, the United States Attorney
agrees not to file an enhanced penalty information alleging Defendant’s prior felony drug
conviction pursuant to 21 U.S.C. § 851.

6. Immigration Consequences. Defendant recognizes that pleading guilty
may have consequences with respect to his immigration status because he is not a citizen
of the United States. Under federal law, a broad range of crimes are grounds for removal,
including the offense to which Defendant is pleading guilty, and some offenses make
removal from the United States presumptively mandatory Removal and other
immigration consequences are the subject of a separate proceeding, however, and
Defendant understands that no one, including his attorney or the district court, can predict
to a certainty the effect of his conviction on his immigration status. Defendant
nevertheless affirms that he wants to plead guilty regardless of any immigration
consequences that his guilty plea may entail, even if the consequence is his mandatory
removal from the United States.

7. Rights Waived by Pleading Guilty. Defendant understands that by
pleading guilty, he knowingly and voluntarily waives the following rights:

a. The right to plead not guilty and to persist in a plea of not guilty;
b. The right to a speedy and public trial before a jury of his peers;
c. The right to the effective assistance of counsel at trial, including, if

Defendant could not afford an attorney, the right to have the Court appoint one for him;

Plea Agreement f U.S. v. Garcz'n- I/alenc:'a - 4 UNITED STATES ATTORNEY
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d. The right to be presumed innocent until guilt has been established

beyond a reasonable doubt at trial;

e. The right to confront and cross-examine witnesses against Defendant
at trial;

f. The right to compel or subpoena witnesses to appear on his behalf at
trial;

g. The right to testify or to remain silent at trial, at which trial such

silence could not be used against Defendant; and
h. The right to appeal a finding of guilt or any pretrial rulings
8. Ultimate Sentence. Defendant acknowledges that no one has promised or
guaranteed what sentence the Court will impose.
9. Statement of Facts. The parties agree on the following facts. Defendant
admits he is guilty of the charged offense or offenses:

For a period of time within the last five years, the defendant GUSTAVO
GARCIA-VALENCIA knowingly and intentionally entered into an agreement
with others to distribute controlled substances, including heroin and
methamphetamine, within the Western District of Washington and elsewhere
More specifically, GARCIA~VALENCIA, with others, distributed drugs in
Western Washington and elsewhere For example, in furtherance of the
conspiracy, on May 6 2015 GARCIA- VALENCIA met with an associate in H[§I`
arysville, Washington, and acquired samples of heroin for re- -distribution.&~
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ARCIA- VALENCIA and an associate went fo a residence m Mount Vernon,
Washington, where they obtained drugs from a load vehicle used by the
conspiracy, which was intended for further distribution

On June 30, 2015, investigators conducted a warrant search of GARCIA-
VALENCIA’s residence, located at 18808 SR 530 NE, Arlington, Washington.
lnvestigators arrested GARCIA-VALENCIA and located packaging material, wire
transfer receipts, and numerous cell phones, including the device used to
communicate with his aforementioned associate lnvestigators also recovered two
firearms, namely, an Izhmash, IZH-70, .380 ACP handgun (serial number:
BAC1642), with a silencer, from the master bedroom, and an lzhrnash, lJ70-
ISAH, 9mm Makarov handgun (importer serial number: RT02342), with a flash

 

 

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suppressor, from the laundry room, ammunition, and a holster. Both firearms had
been shipped and transported between a foreign nation and the United States.

At the time he knowingly possessed the firearms, GARClA-VALENCIA
had been convicted of a crime punishable by imprisonment for a term exceeding
one year, namely, Possession of Controlled Substance (cocaine), in San Mateo
County Superior Court, California, and thus was a person prohibited from
possessing such weapons.

The parties further agree that the Court may consider additional facts contained in
the Presentence Report (subject to standard objections by the parties) and/or that may be
presented by the United States or Defendant at the time of sentencing, and that the factual
statement contained herein is not intended to limit the facts that the parties may present to
the Court at the time of sentencing

10. Sentencing Factors. The parties agree that the following Sentencing
Guidelines provisions apply to this case:

a. With regard to Count l, a base offense level of 30, pursuant to

USSG § 2Dl.l(c)(4), corresponding to a quantity of methamphetamine and heroin
equivalent to at least 1,000 kg but less than 3,000 kg of marijuana;

b. _A two-level increase, pursuant to USSG § 2Dl.l(b)(l), based upon

the possession of a dangerous weapon (including a firearm); and,

c. A three-level reduction for acceptance of responsibility, conditioned

upon Defendant’s fulfillment of the requirements stated at USSG § 3El.l.

The parties agree they are free to present arguments regarding the applicability of
all other provisions of the United States Sentencing Guidelines. Defendant understands,
however, that at the time of sentencing, the Court is free to reject these stipulated
adjustments, and is further free to apply additional downward or upward adjustments in
determining Defendant's Sentencing Guidelines range.

ll. Sentencing Recommendation Regarding Imprisonment. Pursuant to
F ederal Rule of Criminal Procedure ll(c)(l)(B), the United States agrees to recommend

that the appropriate term of imprisonment to be imposed by the Court at the time of

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sentencing is a term no greater than sixty-six (66) months. Defendant may recommend
any sentence authorized by law. Unless otherwise set forth in this agreement, both
parties remain free to present arguments regarding other aspects of sentencing, such as
the computation of the guidelines range, the term and conditions of supervised release,
fines, and restitution

Defendant understands that the parties’ recommendations are not binding on the
Court and the Court may reject the recommendation of the parties and may impose any
term of imprisonment up to the statutory maximum penalty authorized by law.
Defendant hirther understands that he cannot withdraw his guilty plea simply because of
the sentence imposed by the district court.

12. United StatesSenteneing Guidelines Defendant understands and
acknowledges that the Court must consider the sentencing range calculated under the
United States Sentencing Guidelines and possible departures under the Sentencing
Guidelines together with the other factors set forth in Title 18, United States Code,
Section 3553(a), including: (l) the nature and circumstances of the offense; (2) the
history and characteristics of the defendant; (3) the need for the sentence to reflect the
seriousness of the offense, to promote respect for the law, and to provide just punishment
for the offense; (4) the need for the sentence to afford adequate deterrence to criminal
conduct; (5) the need for the sentence to protect the public from further crimes of the
defendant; (6) the need to provide the defendant with educational and vocational training,
medical care, or other correctional treatment in the most effective manner; (7) the kinds
of sentences available; (8) the need to provide restitution to victims; and (9) the need to
avoid unwarranted sentence disparity among defendants involved in similar conduct who
have similar records Accordingly, Defendant understands and acknowledges that:

a. The Court will determine applicable Defendant’s Sentencing
Guidelines range at the time of sentencing;

b. After consideration of the Sentencing Guidelines and the factors in

Plea Agreement/ U.S. v. Garcict- Vrzlencia - 7 UNI'l`ED S'I`A'l`ES ATTORNEY
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l8 U.S.C. § 3553(a), the Court may impose any sentence authorized by law, up to the
maximum term authorized by law;

c. The Court is not bound by any recommendation regarding the
sentence to be imposed, or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Department, or by any
stipulations or agreements between the parties in this Plea Agreement; and

d. Defendant may not withdraw his guilty pleas solely because of the
sentence imposed by the Court.

13. Acceptance of Responsibility. At sentencing, if the district court
concludes Defendant qualifies for a downward adjustment acceptance for acceptance of
responsibility pursuant to USSG § 3El.l(a) and the defendant’s offense level is 16 or
greater, the United States will make the motion necessary to permit the district court to
decrease the total offense level by three (3) levels pursuant to US SG § 3El.l(a) and (b),
because Defendant has assisted the United States by timely notifying the United States of
his intention to plead guilty, thereby permitting the United States to avoid preparing for
trial and permitting the Court to allocate its resources efficiently

l4. Forfeiture of Contraband. Defendant also agrees that if any law
enforcement agency seized any firearms or other illegal contraband that was in
Defendant’s direct or indirect control, Defendant consents to the administrative forfeiture,
official use, and/or destruction of said firearms or contraband by any law enforcement
agency involved in the seizure of these items.

l5. Forfeiture of Assets. Defendant agrees to forfeit to the United States
immediately all of Defendant’s right, title and interest, if any, in any and all property, real
or personal, that was used, or intended to be used, in any manner or part, to commit or to
facilitate the commission of the conspiracy to distribute controlled substances, and any
property constituting, or derived from, any proceeds Defendant obtained, directly or
indirectly, as the result of this offense, that are subject to forfeiture pursuant to Title 2l,

United States Code, Section 853; and/or any firearms, magazines, and ammunition

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involved in the commission of a felony firearm offense in violation of Title 18, United

States Code, Section 922(g), including but not limited to:

a. Two firearms, a silencer, a flash suppressor, magazines and
accessories, and ammunition seized from 18808 SR 53 0, Arlington, Washington, on or
about June 30, 2015, to include an lzhmash, lZH-?O, 380 ACP handgun (serial number:
BAC1642), and an Izhmash, IJ70-18AH, 9mm Makarov handgun (importer serial
number: RT02342).

Solely for the purposes of forfeiture, Defendant agrees that the above listed assets
are the proceeds of, or were used and intended to be used to facilitate, the unlawful
conspiracy to distribute controlled substances as set forth in Count l.

Defendant agrees to fully assist the United States in the forfeiture of the listed
assets and to take whatever steps are necessary to pass clear title to the United States,
including but not limited to: surrendering title and executing any documents necessary to
effectuate such forfeiture; assisting in bringing any assets located outside the United
States within the jurisdiction of the United States; and taking whatever steps are
necessary to ensure that assets subject to forfeiture are not sold, disbursed, wasted,
hidden, or otherwise made unavailable for forfeiture Defendant agrees not to file a claim
to any of the listed property in any civil forfeiture proceeding, administrative or judicial,
which may be initiated.

The United States reserves its right to proceed against any remaining assets not
identified in this Plea Agreement, including any property in which Defendant has any
interest or control, if said assets, real or personal, tangible or intangible, constitute or are
traceable to proceeds or facilitated violation of Title 2 l, United States Code, Section 341
et seq.

l6. Non-Prosecution of Additional Offenses. As part of this Plea Agreement,
the United States Attorney’s Office for the Western District of Washington agrees not to
prosecute Defendant for any additional offenses known to it as of the time of this
Agreement that are based upon evidence in its possession at this time, and that arise out

of the conduct giving rise to this investigation In this regard, Defendant recognizes the

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United States has agreed not to prosecute all of the criminal charges the evidence
establishes were committed by Defendant solely because of the promises made by
Defendant in this Agreement. Defendant agrees, however, that for purposes of preparing
the Presentence Report, the United States Attorney’s Office will provide the United
States Probation Office with evidence of all conduct committed by Defendant

Defendant agrees that any charges to be dismissed before or at the time of
sentencing were substantially justified in light of the evidence available to the United
States, were not vexatious, frivolous or taken in bad faith, and do not provide Defendant
with a basis for any future claims under the "Hyde Amendment," Pub. L. No. 105-119
(1997).

17. Breach, Waiver, and Post-Plea Conduct. Defendant agrees that if
Defendant breaches this Plea Agreement, the United States may withdraw from this Plea
Agreement and Defendant may be prosecuted for all offenses for which the United States
has evidence Defendant agrees not to oppose any steps taken by the United States to
nullify this Plea Agreement, including the filing of a motion to withdraw from the Plea
Agreement. Defendant also agrees that if Defendant is in breach of this Plea Agreement,
Defendant has waived any objection to the re-institution of any charges in the lndictment
that were previously dismissed or any additional charges that had not been prosecuted

q Defendant further understands that if, after the date of this Agreement, Defendant
should engage in illegal conduct, or conduct that violates any conditions of release or the
conditions of his confinement, (examples of which include, but are not limited to,
obstruction ijustice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the Pretrial Services
Officer, Probation Officer, or Court), the United States is free under this Agreement to
file additional charges against Defendant or to seek a sentence that takes such conduct
into consideration by requesting the Court to apply additional adjustments or
enhancements in its Sentencing Guidelines calculations in order to increase the applicable

advisory Guidelines range, and/or by seeking an upward departure or variance from the

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calculated advisory Guidelines range Under these circumstances, the United States is
free to seek such adjustments, enhancements, departures, and/or variances even if
otherwise precluded by the terms of the plea agreement

18. Waiver of Appellate Rights and Rights to Collateral Attacks.
Defendant acknowledges that by entering the guilty plea(s) required by this plea
agreement Defendant waives all rights to appeal from his conviction and any pretrial
rulings of the court Defendant further agrees that, provided the court imposes a custodial
sentence that is within or below the Sentencing Guidelines range (or the statutory
mandatory minimum, if greater than the Guidelines range) as determined by the court at
the time of sentencing, Defendant waives to the full extent of the law:

a. Any right conferred by Title 18, United States Code, Section 3742,
to challenge, on direct appeal, the sentence imposed by the court, including any fine,
restitution order, probation or supervised release conditions, or forfeiture order (if
applicable); and

b. Any right to bring a collateral attack against the conviction and
sentence, including any restitution order imposed, except as it may relate to the
effectiveness of legal representation

This waiver does not preclude Defendant from bringing an appropriate motion
pursuant to 28 U.S.C. § 2241, to address the conditions of his confinement or the
decisions of the Bureau of Prisons regarding the execution of his sentence

lf Defendant breaches this Plea Agreement at any time by appealing or collaterally
attacking (except as to effectiveness of legal representation) the conviction or sentence in
any way, the United States may prosecute Defendant for any counts, including those with
mandatory minimum sentences, that were dismissed or not charged pursuant to this Plea
Agreement.

19. Voluntariness of Plea. Defendant agrees that he has entered into this Plea

Agreement freely and voluntarily and that no threats or promises, other than the promises

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contained in this Plea Agreement, were made to induce Defendant to enter his pleas of
guilty.

20. Statute of Limitations. In the event this Agreeinent is not accepted by the
Court for any reason, or Defendant has breached any of the terms of this Plea Agreement,
the statute of limitations shall be deemed to have been tolled from the date of the Plea
Agreement to: (1) thirty (30) days following the date of non-acceptance of the Plea
Agreement by the Court; or (2) thirty (3 0) days following the date on which a breach of
the Plea Agreernent by Defendant is discovered by the United States Attomey’s Oftice.

21. Completeness of Agreement The United States and Defendant
acknowledge that these terms constitute the entire Plea Agreement between the parties
This Agreement binds only the United States Attorney’s Office for the Western District
of Washington. lt does not bind any other United States Attomey’s Office or any other
office or agency of the United States, or any state or local prosecutor.

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Dated this\{i\_day of December, 2016.

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Defendant

    

   

 

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Atto` @Y for Defendant

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Assistant U.Qed States Attorney

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GRADY LEUPOLD
Assistant United States Attomey

    

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